        Case 1:25-cv-10313-JEK          Document 86         Filed 05/12/25        Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 ASHTON ORR, et al.,
                                                    Case No. 1:25-cv-10313-JEK
                               Plaintiffs,

                      v.

 DONALD J. TRUMP, et al.,
                               Defendants.



                                 NOTICE OF APPEARANCE

       Please enter the appearance of Robert C. Gianchetti, of Covington & Burling LLP, as

counsel for Plaintiffs in the above-captioned matter.




Dated: May 12, 2025                                     Respectfully submitted,

                                                        /s/ Robert C. Gianchetti
                                                        Robert C. Gianchetti
                                                        COVINGTON & BURLING LLP
                                                        The New York Times Building
                                                        620 Eighth Avenue
                                                        New York, NY 10018
                                                        (212) 841-1159
                                                        rgianchetti@cov.com
       Case 1:25-cv-10313-JEK             Document 86    Filed 05/12/25     Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2025, a true copy of the foregoing will be electronically

filed with the Clerk of Court using the CM/ECF system, which will then send a notification of

such filing (NEF) to counsel of record.



Dated: May 12, 2025                                        /s/ Robert C. Gianchetti
                                                            Robert C. Gianchetti




                                                2
